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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                  )
DONALD J. TRUMP FOR PRESIDENT,                    )
INC., et al.,                                     )
                                                  )
                       Plaintiffs,                )
                                                  )
       v.                                         ) Civil Action No. 2:20-cv-00966-NR
                                                  )
KATHY BOOCKVAR, in her capacity as                ) Judge J. Nicholas Ranjan
Secretary of the Commonwealth of                  )
Pennsylvania, et al.,                             )
                                                  )
                       Defendants.                )
                                                  )

            SECRETARY OF THE COMMONWEALTH KATHY BOOCKVAR’S
              NOTICE OF RULING BY PENNSYLVANIA SUPREME COURT

       As set forth in the notice previously provided to the Court at ECF No. 388, on August 16,

2020, the Secretary of the Commonwealth Kathy Boockvar filed an Application for the Supreme

Court of Pennsylvania to Exercise Extraordinary Jurisdiction over the Commonwealth Court Case

Docketed at 407 MD 2020 (Pennsylvania Democratic Party v. Boockvar, No. 133 MM 2020). On

August 20, Donald J. Trump for President, Inc., the Republican Party of Pennsylvania, the

Republican National Committee, and the National Republican Congressional Committee objected

to the Application (attached hereto as Exhibit A). On August 24, the Secretary provided a

supplement to the Pennsylvania Supreme Court (attached hereto as Exhibit B) providing notice of

this Court’s August 23 order abstaining in favor of the Commonwealth Courts’ interpretation of

the disputed state law issues.

       The Secretary now provides notice of and submits a copy of the Order granting the

Secretary’s Application, which was issued earlier today, September 1, 2020, by the Supreme Court

of Pennsylvania (attached hereto as Exhibit C).
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Dated: September 1, 2020               Respectfully submitted,

                                       PENNSYLVANIA OFFICE OF
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                                       Counsel for Kathy Boockvar
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 1, 2020, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties who have appeared in this action via the Court’s

electronic filing system. Parties may access this filing through the Court’s system.



                                                /s/ Daniel T. Donovan
                                                Daniel T. Donovan

                                                Counsel for Kathy Boockvar
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                                                Pennsylvania
